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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   BERNADEAN RITTMANN, et al.,                              CASE NO. C16-1554-JCC
10
                                 Plaintiffs,                  ORDER
11
         v.
12
     AMAZON.COM, INC., et al.,
13
                                 Defendants.
14

15            This matter comes before the Court on the parties’ supplemental joint status report
16   (“JSR”) (Dkt. No. 297), filed in response to the Court’s minute order (Dkt. No. 296). The Court
17   indicated it will lift the stay and set a case management schedule, after considering a proposed
18   schedule from the parties. (See generally id.) Having duly considered the supplemental JSR and
19   the record in this matter, the Court hereby LIFTS the stay and establishes the following case
20   management deadlines, through class certification:
21            1. Defendants’ Motion to Dismiss First Amended Complaint: File no later than June 14,
22               2024 (briefing schedule set in accordance with LCR 7(d)(4)). 1 Rather than set a
23

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25     The parties propose a briefing schedule shorter than the minimum provided by LCR 7(d)(4) for
     a 28-day motion (15 days to oppose rather than 21 days and 21 days to reply rather than 28
26   days). (See Dkt. No. 297 at 1.) The Court assumes this was in error and directs Defendants to
     note the motion and establish a briefing schedule in accordance with LCR 7(d)(4).

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 1               deadline to file a Second Amended Complaint at this time, the Court will address the

 2               issue in ruling on Defendant’s Motion to Dismiss.

 3           2. Plaintiffs’ Motion for Conditional Certification / Notice Pursuant to 29 U.S.C.

 4               § 216(b): File any time following disposition of motion(s) to dismiss complaint—

 5               whether that be the First Amended Complaint or a subsequent amended complaint

 6               (briefing schedule set in accordance with LCR 7(d)(4)).

 7           3. Defendants’ Motion to Compel Opt-In Discovery: File no later than June 14, 2024

 8               (briefing schedule set in accordance with LCR 7(d)(3)). 2
 9           4. Concurrent deadlines for Motion for Class Certification and Motion to Compel
10               Arbitration: File during the 60-day period beginning upon the disposition of
11               Defendants’ Motion to Dismiss First Amended Complaint, or later amended
12               complaint—if the Court grants leave to do so (briefing schedule set in accordance
13               with LCR 7(d)(4)).
14           The Court will not establish discovery limitations at this time, nor will it set a cut-off date
15   prior to class certification.
16

17           It is so ORDERED this 14th day of May 2024.




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                                                            John C. Coughenour
21                                                          UNITED STATES DISTRICT JUDGE
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      The parties propose a briefing schedule longer than that provided by LCR 7(d)(3) (21 days to
25   oppose rather than 15 days and 28 days to reply rather than 21 days). (See Dkt. No. 297 at 1.)
     The Court presumes this was in error. If the parties wish to establish a noting date beyond the
26   minimum provided in LCR 7(d)(3), Defendants may do so when noting their motion for the
     Court’s consideration.

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